Case 4:14-cv-00065-JM Document 71-2 Filed 02/07/18 Page 1of3

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION

)

MARK MOORE, et al., )
...Plaintiffs, )

)

Vv. . ) Case No. 4:14-CV-65-JM

)

MARK MARTIN, in his official )
capacity as Secretary of State )
for the State of Arkansas, ... Defendant. )
)

ATTACHMENT
PLAINTIFF MOORE’S EXHIBIT “2”
TIME SHEET OF JEFF ROSENZWEIG

Case 4:14-cv-00065-JM Document 71-2 Filed 02/07/18 Page 2 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION

MARK MOORE, et al.,

4:14-cv-00065-JM

MARK MARTIN, in his official capacity
as Secretary of State for the State of Arkansas

1-10-2014

1-30-2014

2-3-2014

2-5-2014

2-6-2014

4-7-2014

4-23-2014

7-15-2014

7-18-2014

7-21-2014

JEFF ROSENZWEIG TIME SHEET
Talk w/ Linger about issues in case and research
Review draft.
Review of complaint and discuss with Linger
Email with Linger
Filing of complaint and discuss w/Linger

Review Motion to Dismiss
and other pleadings

TC w/ Linger

TC w/ Linger and A.J. Kelly re
Rule 26(f) conference

Review Req. for Admission and Def.’s
Supp Brf., etc.

Review of proposed FRCP 26(f) report

PLAINTIFF

DEFENDANT

1.2

0.5

1.1

0.2

1.2

0.5

0.2

0.3

0.4

0.2
Case 4:14-cv-00065-JM Document 71-2 Filed 02/07/18 Page 3 of 3

8-17-2014

12-01-2014

1-14-2015

5-12-2015

7-27-2015

10-17-2017

11-18-2017

12-2-2017

12-10-2017

12-11-2017

12-12-2017

1-30-2018

2-5-2018

TOTAL

Rec. & rev. of Answer of Defendant

Rev. of Defendant's Motion for Summary
Judgment and brief

Review of Defendant's Reply Brief
TC w/ Linger re case status

Meeting w/Linger re case

Review discovery requests to Moore
Review discovery responses

Rev of Defendant's pretrial Brief and
proposed FFCL

Rev. of discovery materials and prep
Rev. of discovery materials and prep
Pretrial conf. and trial

Discuss status w/ Linger

Prepare billing statement

0.3

0.5

18.2
